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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                   Case No.: 1:24-cv-24228


  MEGAN PETE, an individual

  Plaintiff,

  v.

  MILAGRO ELIZABETH COOPER,
  an individual,


                 Defendant.


                        ORDER FOLLOWING DISCOVERY HEARING

          THIS CAUSE came before the Court for hearing on July 14, 2025, on Plaintiff’s Notice

  of Discovery Dispute concerning (i) Defendant’s failure to respond to Plaintiff’s Third Set of

  Requests for Production, (ii) Defendant’s deficient discovery responses, and (iii) Plaintiff’s request

  for sanctions (the “Discovery Dispute”). [ECF No. 90].

          This Court, having considered the Dispute and heard the oral argument of the Parties, and

  being otherwise advised in the premises, hereby ORDERS and ADJUDGES that:

          1.     By July 15, 2025, Defendant shall provide her Discord account login credentials to

                 the agreed-upon third-party forensic vendor, FTI Consulting, for that company to

                 conduct an independent collection from Defendant’s Discord account. Following

                 the independent collection, the parties shall confer and agree on the production of

                 responsive documents per Plaintiff’s Third Set of Requests for Production. Such

                 production shall occur before Defendant’s deposition on July 21, 2025.

          2.     The Court shall defer ruling on the issue of potential spoliation of Defendant’s text

                 messages and WhatsApp messages and Plaintiff’s request for sanctions pursuant to

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                 Federal Rule of Civil Procedure 37 [ECF No. 90 ¶¶ 2–3] until after Defendant’s

                 deposition on July 21, 2025. If after Defendant’s deposition Plaintiff seeks to

                 proceed on the issue of spoilation, Plaintiff must promptly contact the Undersigned

                 to request an evidentiary hearing.

         3.      Plaintiff and Defendant shall meet and confer regarding Defendant providing

                 Plaintiff with the deleted WhatsApp messages and iMessages from Defendant’s

                 cellphone relevant to Plaintiff’s discovery requests, including Defendant providing

                 Plaintiff with any documents or credentials necessary to authorize a third-party

                 forensic vendor to obtain the deleted messages.

         4.      Defendant must pay all reasonable expenses, including attorneys’ fees, incurred by

                 Plaintiff in litigating the Discovery Dispute. The Parties shall meet and confer

                 within five days of entry of this Order as to a reasonable amount of fees and costs

                 that Plaintiff incurred by having to bring this Discovery Dispute to the Court’s

                 attention. 1 If the Parties cannot agree, then within ten days of the entry of this

                 Order, Plaintiff shall bring the matter to the Undersigned’s attention by contacting

                 chambers to provide the Undersigned with the amount requested, along with the

                 time entries establishing the amount, and Defendant shall then have five days

                 thereafter to respond.




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    The accrual of fees from the time when Defendant did not have counsel to when Defendant’s
  newly retained counsel was becoming acquainted with the case shall be exempted from this Order.
  The parties are to confer and agree upon a time range for the accrual of reasonable attorneys’ fees
  to be paid by Defendant.
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  DONE AND ORDERED in Chambers at Miami, Florida, this 14th day of July 2025.



                                               Lisette M. Reid
                                               United States Magistrate Judge


  Copies furnished to: All Counsel of Record




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